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The following constitutes the ruling of the court and has the force and effect therein described.




Signed April 9, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     ------------------------------------------------------------
     In re                                                        §       Chapter 11
                                                                  §
                                                                1
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                                 Case No. 19-34054-SGJ11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  §            21-03020-sgj
                                                                          No. __________________________
                                         Plaintiffs,              §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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    ORDER GRANTING PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING
                                ORDER


        Having considered Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary

Injunction (the “Motion”), Plaintiffs’ Memorandum of Law in Support of Motion for a Temporary

Restraining Order and Preliminary Injunction (the “Memorandum of Law”)2, and the Declaration

of Sarah Tomkowiak in Support of Plaintiffs’ Motion for a Temporary Restraining Order and

Preliminary Injunction, including the exhibits annexed thereto; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Motion in this District is proper pursuant to 28 U.S.C. § 1409; and this Court

having found that injunctive relief is warranted under section 105(a) of the Bankruptcy Code and

that the relief requested in the Motion is in the best interests of the Debtor’s estate, its creditors,

and other parties-in-interest; and this Court having found that UBS’s notice of the Motion was

appropriate under the circumstances and that no other notice need be provided; and this Court

having determined that the legal and factual bases set forth in the Motion and the Memorandum

of Law establish good cause for the relief granted herein; and this Court taking note that the Debtor

does not object to the relief sought herein; and after due deliberation and sufficient cause appearing

therefor and for the reasons set forth in the record on this Motion, it is HEREBY ORDERED

THAT:

        1.       The Motion is GRANTED as set forth herein.



2
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Memorandum of
Law.
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       2.      The Debtor is temporarily enjoined and restrained from making or allowing funds

under its management or control (including, but not limited to, Multi-Strat and CDO Fund) to

make any payments or further transfers to Sentinel or any of its affiliates or any transferees of the

Sentinel Entities consisting of, resulting from, or relating to the Transferred Assets until this

Court’s decision on UBS’s requested preliminary injunction.

       3.      All objections to the Motion are overruled in their entirety.

       4.      The Court shall retain exclusive jurisdiction with respect to all matters arising from

or relating to the implementation, interpretation, and enforcement of this Order.

                                    ### END OF ORDER ###

 Respectfully submitted,

 /s/ Andrew Clubok

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AG London Branch
